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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DIVISION OF ARKANSAS
                                 WESTERN DIVISION


TERESA BLOODMAN, Parent and Natural Guardian
of John Doe, a minor child                                                             PLAINTIFF

vs.                                  No. 4:11-cv-00818-JMM

DR. TOM KIMBRELL, Arkansas Department of Education,
Individually Named and Official Capacity;
DR. JERRY GUESS, Superintendent, Pulaski County Special
School District, Individually Named and Official Capacity;
DR. TAMEKIA BROWN, Principal, Maumelle High School,
Individually Named and Official Capacity;
MICHAEL SHOOK, Coach, Maumelle High School,
Individually Named and Official Capacity;
GROVER GARRISON, Coach, Maumelle High School,
Individually Named and Official Capacity;
SHERMAN COX, Athletic Director, Maumelle High School,
Individually Named and Official Capacity,                                          DEFENDANTS


SEPARATE DEFENDANTS’ COMBINED RESPONSE TO PLAINTIFF’S MOTION TO
QUASH NOTICE AND AMENDED NOTICES TO TAKE DEPOSITION OF PLAINTIFF
 AND PLAINTIFF’S SON AND FOR PROTECTIVE ORDER, PLAINTIFF’S MOTION
  FOR EXTENSION OF TIME AND TO AMEND THE SCHEDULING ORDER AND
 OTHER PENDING MATTERS, PLAINTIFF’S MOTION FOR ORDER TO COMPEL
ATTENDANCE AT DEPOSITION AND DISCLOSURES AND IN THE ALTERNATIVE
   TO EXTEND THE DISCOVERY DEADLINE, AND SEPARATE DEFENDANTS’
      COMBINED MOTION FOR PROTECTIVE ORDER AND SANCTIONS


       Separate Defendants, Dr. Jerry Guess, Dr. Tamekia Brown, Michael Shook, Grover Garrison,

Sherman Cox, and the Pulaski County Special School District (collectively, the “District”), by their

attorneys, Bequette & Billingsley, P.A., for their Combined Response to Plaintiff’s Motion to Quash

Notice and Amended Notices to Take Deposition of Plaintiff and Plaintiff’s Son and for Protective

Order (“Plaintiff’s Motion to Quash”), Plaintiff’s Motion for Extension of Time and to Amend the

Scheduling Order and Other Pending Matters (“Plaintiff’s Motion for Extension”), Plaintiff’s Motion
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for Order to Compel Attendance at Deposition and Disclosures and in the Alternative to Extend the

Discovery Deadline (“Plaintiff’s Motion to Compel”) (collectively, “Plaintiff’s Motions”), and

Separate Defendants’ Combined Motion for Protective Order and Sanctions, allege and state:

        1.       As to Plaintiff’s Motion to Quash, Motion for Extension and Motion to Compel, the

District admits that notices and cross-notices to take depositions of Plaintiff and her son have been

served by Defendants. The District further admits the existence of the scheduling order entered by

the Court and the motions filed by Plaintiff, which speak for themselves. The District otherwise

denies the remaining allegations set forth in Plaintiff’s Motions.

        2.       Plaintiff’s Motions contain allegations that are false, confusing and misleading. The

District states affirmatively as follows:

                 (a)    On December 13, 2013, shortly after the final scheduling order was issued,

counsel for Separate Defendant Dr. Tom Kimbrell (“Kimbrell”) sent a letter via email and U.S. Mail

to Plaintiff requesting on behalf of all Defendants that the depositions of Plaintiff and her son be

scheduled in preparation for the trial of this case on January 28, 29, 30 or 31, 2014. A copy of

counsel for Kimbrell’s December 13, 2013 letter is attached hereto as Exhibit “A.” Plaintiff never

responded to counsel for Kimbrell’s request.

                 (b)    Plaintiff never responded to the December 13, 2013 letter. So, counsel for

Kimbrell served a second letter with notices for depositions of Plaintiff and her son for January 28,

2014. Counsel for Kimbrell stated in the cover letter that he was “happy to work with [Plaintiff] on

the scheduling of these depositions as long as we can schedule them before the discovery deadline

of February 7, 2014.” Accordingly, on January 6, 2014, counsel for Kimbrell served notices on




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Plaintiff for depositions of Plaintiff and her son for January 28, 2014. Copies of the letter and notices

are attached hereto as Exhibit “B.”

                (c)     On January 15, 2014, Plaintiff emailed the paralegal for Kimbrell’s counsel

advising that Plaintiff was unavailable on January 29 but that Plaintiff was available on February 6.

A copy of Plaintiff’s January 15, 2014 email is attached hereto as Exhibit “C.” The Court’s

scheduling order, however, established the discovery deadline as February 7, 2014. See Dkt.

No. 109.

                (d)     On January 16, 2014, Kimbrell’s counsel sent an email to Plaintiff advising that

due to the pending discovery deadline, depositions of Plaintiff and her son should be rescheduled

sometime during the week of January 29. A copy of counsel for Kimbrell’s January 16, 2014 email

is attached hereto as Exhibit “D.” Plaintiff never responded to this email.

                (e)     On January 27, 2014, Defendants’ counsel initiated a conference call with

Plaintiff to discuss the pending discovery issues. During that telephone conversation, after Plaintiff

explained that she had a scheduling conflict on January 28, Plaintiff and Defendants agreed to

reschedule the depositions of Plaintiff and her son for February 5, 2014. Accordingly, on January 27,

2014, counsel for Kimbrell noticed the depositions of Plaintiff and her son for February 5, 2014 and

counsel for the District served a cross-notice of deposition on Plaintiff for these depositions. Copies

of the notices and cross-notices are attached hereto as Exhibit “E.”

                (f)     During the telephone conversation on January 27, 2014, Plaintiff requested

dates for the scheduling of Defendants’ depositions. Due to the pending discovery deadline and in

order to determine whether the Defendants were available, counsel tentatively scheduled these

depositions on February 18 and 20, 2014 by agreement after the discovery deadline, subject to the


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availability of the parties. Counsel for the District subsequently sent an email to Plaintiff on

January 29, 2014 confirming the availability of the District Defendants for depositions on February 18

and 20, 2014. A copy of counsel for the District’s email to Plaintiff on January 29, 2014 is attached

hereto as Exhibit “F.” Plaintiff never responded to counsel’s email. On the same day, counsel for

Kimbrell notified Plaintiff by email that the Commissioner of Education could be available for

deposition at 11:00 a.m. on February 18, 2014. A copy of counsel for Kimbrell’s email is attached

hereto as Exhibit “G.”

                (g)      Plaintiff and her son failed to appear for the depositions on February 5, despite

such depositions being noticed and cross-noticed. See Exhibit E. A copy of the deposition transcript

is attached hereto as Exhibit “H.”

                (h)      To counsel’s knowledge, Plaintiff has never served notices of deposition on

counsel for Defendants. The first time Defendants’ counsel learned that Plaintiff wished to take

depositions of Defendants was during the telephone conference on January 27. At that time,

Defendants’ counsel agreed to make Defendants available for deposition on February 18 and 20,

subject to the availability of Defendants on those dates. However, on February 6, 2014, Plaintiff

served subpoenas on Defendants’ counsel for depositions of the Defendants on February 11, 2014,

without inquiring as to whether any of the Defendants or their counsel are even available on that

date.1 Copies of the subpoenas served on the District Defendants are attached hereto as Exhibit “I.”

       3.       Plaintiff has failed and refused to respond to written discovery propounded by

Defendants. See Dkt. Nos. 122 and 128.



       1
         Counsel for the District is not available on February 11, as he is taking depositions in
another case on that date in Northwest Arkansas.

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        4.       Plaintiff failed to certify in Plaintiff’s Motions that she has in good faith conferred or

attempted to confer with Defendants’ counsel pursuant to Fed. R. Civ. P. 37(a)(1) and Local

Rule 7.2(g).

        5.       Pursuant to Fed. R. Civ. P. 11, 26(c) and 37, this Court should prohibit Plaintiff from

supporting any of the claims raised by Plaintiff in her Second Amended Complaint or from opposing

the defenses raised in the District’s Answer; strike Plaintiff’s Second Amended Complaint; dismiss

the Second Amended Complaint with prejudice; enter an order requiring Plaintiff to pay the District’s

reasonable attorney’s fees and costs incurred in the defense of this action caused by Plaintiff’s failure

to cooperate in discovery; and enter a protective order quashing the subpoenas issued by Plaintiff to

the District Defendants. Alternatively, this Court should extend the discovery deadline for the limited

purpose of compelling Plaintiff to respond to Defendants’ written discovery requests, and requiring

Plaintiff and her son to appear for depositions.

        6.       The District’s counsel has in good faith attempted to confer with Plaintiff in an effort

to resolve this dispute without court action.

        7.       The District’s Brief in Support of this Combined Response and Motion is filed

concurrently herewith.

        8.       The District requests that the Court schedule a hearing on the pending discovery

motions.

        WHEREFORE, Separate Defendants, Dr. Jerry Guess, Dr. Tamekia Brown, Michael Shook,

Grover Garrison, Sherman Cox, and the Pulaski County Special School District, pray that the Court

grant the District’s relief requested herein; for the District’s attorney’s fees and costs incurred herein;

and for all other appropriate relief.


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                                                                                      Respectfully submitted,

                                                                                      /s/ Jay Bequette
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                                                                                      Attorneys for Separate Defendants Dr. Jerry Guess,
                                                                                      Dr. Tamekia Brown, Michael Shook, Grover
                                                                                      Garrison, Sherman Cox, and Pulaski County Special
                                                                                      School District


                                                                          CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2014, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send notification of such filing to the following:

Teresa Bloodman, Esq.                                                   teresabloodman@yahoo.com

Scott P. Richardson, Esq.                                               scott.richardson@arkansasag.gov; agcivil@arkansasag.gov;
                                                                        danielle.williams@arkansasag.gov


                                                                                      /s/ Jay Bequette
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